Case 3:20-cr-00249-RS          Document 1          Filed 06/22/20         Page 1 of 9


      United States District Court
                         FOR THE                                           CR20-249 RS
              NORTHERN DISTRICT OF CALIFORNIA

                   VENUE: SAN FRANCISCO                                           FILED
                                                                                  Jun 22 2020
                        UNITED STATES OF AMERICA,
                                         V.                               SUSANY. SOONG
                                                                     CLERK, U.S. DISTRICT COURT
                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                           SAN FRANCISCO


                    ROWLAND MARCUS ANDRADE,




                              DEFENDANT(S).


                             INDICTMENT

                           18 U.S.C. § 1343 – Wire Fraud;
                        18 U.S.C. § 2 – Aiding and Abetting
                    18 U.S.C. § 1956(a)(1) – Money Laundering;
       18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) – Forfeiture Allegation




         A true bill.
                            /s/ Grand Jury Foreperson
                                                             Foreman

                                     18th
         Filed in open court this __________ day of

               June, 2020
         _________________________________.

          ____________________________________________
                                                  Clerk
          ____________________________________________

                                                       no bail warrant
                                              Bail, $ _____________
                  Case 3:20-cr-00249-RS       Document 1         Filed 06/22/20    Page 2 of 9

                                                                          FILED
1 DAVID L. ANDERSON (CABN 149604)
  United States Attorney                                                    Jun 22 2020
2
                                                                       SUSANY. SOONG
3
                                                                  CLERK, U.S. DISTRICT COURT
4                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                        SAN FRANCISCO
5

6

7

8                                      UNITED STATES DISTRICT COURT

9                                   NORTHERN DISTRICT OF CALIFORNIA
10                                         SAN FRANCISCO DIVISION
11 UNITED STATES OF AMERICA,                             )   CASE NO. CR20-249 RS
                                                         )
12           Plaintiff,                                  )   VIOLATIONS:
                                                         )   18 U.S.C. § 1343 – Wire Fraud;
13      v.                                               )   18 U.S.C. § 2 – Aiding and Abetting;
                                                         )   18 U.S.C. § 1956(a)(1) – Money Laundering;
14 ROWLAND MARCUS ANDRADE,                               )   18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) –
                                                         )
15           Defendant.                                  )   Forfeiture Allegation
                                                         )
16                                                       )   SAN FRANCISCO VENUE
                                                         )
17                                                       )

18

19
                                                 I ND I CTMEN T
20
     The Grand Jury charges:
21
                                               Introductory Allegations
22
             At all times relevant to this Indictment:
23
             1.       Defendant ROWLAND MARCUS ANDRADE, also known as MARCUS ANDRADE,
24
     was a resident of Missouri City, Texas. ANDRADE was the founder and principal of the entity NAC
25
     Foundation, LLC, which was also referred to as the National AtenCoin Foundation. The stated purpose
26
     of the NAC Foundation was to develop and manage a new cryptocurrency called AML Bitcoin.
27
     ANDRADE claimed to be the creator of the cryptocurrency AML Bitcoin and inventor of AML Bitcoin
28


     INDICTMENT
                 Case 3:20-cr-00249-RS        Document 1        Filed 06/22/20      Page 3 of 9




 1 technology. Prior to soliciting purchasers and raising money for the AML Bitcoin project beginning in

 2 about 2017, ANDRADE created and sold other purported cryptocurrencies called “Black Gold Coin”

 3 and “AtenCoin.”

 4          2.       CO-SCHEMER A worked with ANDRADE to promote AML Bitcoin. CO-SCHEMER

 5 A worked on marketing and public relations for AML Bitcoin.

 6                                                    Definitions

 7          3.       The term “cryptocurrency” refers to a class of financial instruments that allow the

 8 transfer of value between individuals without any third-party mediation or government regulation. This

 9 transfer is accomplished with a set of cryptographic protocols executed entirely over the Internet. These
10 protocols require that each transaction’s sender and receiver hold an appropriate cryptographic key.

11 Cryptocurrency was invented in approximately 2009, and examples of cryptocurrencies in widespread

12 use include Bitcoin, Ethereum, and Litecoin.

13          4.       The term “initial coin offering,” or “ICO,” refers to the initial sale of a cryptocurrency to
14 the public. An ICO is similar to an “initial public offering” of stock, a transaction that raises money for a

15 private company and begins the public trading of the company’s stock. The purpose of an ICO is to

16 raise money by selling either units of cryptocurrency, or “tokens” that act as placeholders that can later

17 be exchanged for the cryptocurrency, and the money raised is typically used to fund the business or

18 entity developing the new cryptocurrency.

19                                      AML Bitcoin and the NAC Foundation

20          5.       NAC Foundation filed incorporation documents with the Nevada Secretary of State on

21 February 13, 2014. The incorporation documents indicate that ANDRADE is an officer of the NAC

22 Foundation, and NAC Foundation materials identify ANDRADE as its chief executive officer.

23          6.       The AML Bitcoin “White Paper,” a document dated October 4, 2017, was posted on the

24 AML Bitcoin website by ANDRADE and the NAC Foundation. The White Paper stated that the NAC

25 Foundation created two cryptocurrencies, AML Bitcoin and its predecessor AtenCoin. In the White

26 Paper, the NAC Foundation claimed AML Bitcoin cryptocurrency would include features that would

27 allow the cryptocurrency to comply with anti-money laundering (also referred to as “AML”) and know-

28 your-customer (“KYC”) regulations and laws by using “biometric technologies” among other methods


     INDICTMENT                                        2
                 Case 3:20-cr-00249-RS       Document 1      Filed 06/22/20      Page 4 of 9




 1 to confirming the identities of participants in transactions using AML Bitcoin. The White Paper stated

 2 that ANDRADE sought to raise up to $100 million from the public sale of AML Bitcoin tokens.

 3          7.       Beginning in about 2017, ANDRADE began raising money by selling AML Bitcoin

 4 tokens. Purchasers of the AML Bitcoin tokens were told that once the AML Bitcoin technology was

 5 developed and functioning the tokens would be converted to the actual AML Bitcoin cryptocurrency.

 6 Beginning in October 2017 and continuing through about February 2018, ANDRADE and the NAC

 7 Foundation conducted what they called the AML Bitcoin initial coin offering, or ICO. After the ICO

 8 ended in about February 2018, ANDRADE, NAC Foundation, and his associates continued to solicit

 9 purchasers for AML Bitcoin tokens.
10          8.       ANDRADE made, reviewed, and approved statements issued by the NAC Foundation
11 regarding AML Bitcoin, including press releases that were posted on the AML Bitcoin website and

12 distributed through newswire services, posts on social media including Twitter, discussion forums, and

13 other information posted on the AML Bitcoin website, among others venues.

14                               THE SCHEME AND ARTIFICE TO DEFRAUD

15          9.       Beginning at a date unknown to the grand jury, but no later than July 2017, and

16 continuing through a date unknown to the grand jury, but to at least December 2018, ANDRADE

17 knowingly and with the intent to defraud participated in, devised, and intended to devise a scheme and

18 artifice to defraud as to a material matter, and to obtain money and property by means of materially false

19 and fraudulent pretenses, representations, and promises, and by means of omission and concealment of

20 material facts. As part of the scheme to defraud, ANDRADE, individually and through the NAC

21 Foundation, an entity he controlled, committed or caused to be committed by others, including CO-

22 CONSPIRATOR A, the following acts, among others:

23                   a)     ANDRADE, NAC Foundation, and his associates made public statements and

24          statements to potential purchasers of AML Bitcoin tokens that misrepresented the state of the

25          development of the technology and the viability and timeline for the final release of the

26          functional AML Bitcoin cryptocurrency. ANDRADE and his associates repeatedly stated that

27          the conversion of the token to the AML Bitcoin and the launch of the cryptocurrency, with the

28          promised AML and KYC compliant biometric verification, would be completed in six months.


     INDICTMENT                                       3
           Case 3:20-cr-00249-RS        Document 1       Filed 06/22/20      Page 5 of 9




1               b)      ANDRADE orchestrated and approved a false “rejection campaign” regarding a

2        purported advertisement that ANDRADE and his associates stated was to going to be aired

3        during the 2018 Super Bowl. ANDRADE, NAC Foundation, and his associates claimed that the

4        advertisement would have aired during the Super Bowl if the television network airing the Super

5        Bowl and the National Football League had not rejected the advertisement as being too

6        controversial. In fact, the NAC Foundation did not have the funds to purchase the advertising

7        time, and the advertisement was never reviewed or rejected by the network or the NFL.

8               c)      ANDRADE, NAC Foundation, and his associates made statements that falsely

9        stated and implied that the NAC Foundation had reached or was about to finalize agreements
10       with various government agencies for the use of AML Bitcoin or AML Bitcoin technology, in
11       order make prospective purchasers believe that the cryptocurrency was progressing toward
12       widespread adoption. For example, NAC Foundation announced on or about November 8, 2019
13       stating that ANDRADE and NAC Foundation representatives were “engaged in talks” with the
14       government of Panama and the Panama Canal Authority regarding adoption of the AML Bitcoin
15       cryptocurrency for payment of transit fees. This statement overstated the significance and
16       outcome of meetings and conversations with the Panama Canal Authority. In another example,
17       ANDRADE made false statements regarding a meeting with an elected politician representing
18       the State of California, claiming that ANDRADE had a meeting with the official and discussed

19       “AML Bitcoin and how it can bring security and compliance to crypto, fintech and digital

20       identities.” In fact, ANDRADE was present at a roundtable discussion and had his photograph

21       taken with the official, but AML Bitcoin was not discussed.

22              d)      ANDRADE misappropriated money he obtained through the sale of AML Bitcoin

23       tokens, including from a person known to the grand jury and identified as PURCHASER-1,

24       including using more than $730,000 to purchase a new home that was purchased by ANDRADE

25       and his spouse, and using more than $220,000 to purchase a piece of real estate held in the name

26       of a company controlled by ANDRADE. Prospective purchasers, including PURCHASER-1,

27       believed that money paid to purchase AML Bitcoin tokens would be spent to develop the

28       technology and for business operations.


     INDICTMENT                                    4
              Case 3:20-cr-00249-RS         Document 1       Filed 06/22/20      Page 6 of 9




 1 COUNT ONE:              (18 U.S.C. §§ 1343 AND 2 – Wire Fraud)

 2          Paragraphs 1 through 6 of this Indictment are re-alleged and incorporated as if fully set forth

 3 here.

 4          Beginning on or about July 2017 and continuing through on or about October 2018, in the

 5 Northern District of California and elsewhere, the defendant,

 6                                    ROWLAND MARCUS ANDRADE,

 7 with others known and unknown to the Grand Jury, including CO-SCHEMER A, did knowingly and

 8 with the intent to defraud participated in, devised, and intended to devise a scheme and artifice to

 9 defraud as to a material matter, and to obtain money and property by means of materially false and
10 fraudulent pretenses, representations, and promises, and by means of omission and concealment of

11 material facts.

12                                         THE USE OF THE WIRES

13          On or about January 12, 2018, in the Northern District of California and elsewhere, for the

14 purpose of executing the aforementioned scheme and artifice to defraud and attempting to do so, the

15 defendant,

16                                    ROWLAND MARCUS ANDRADE,

17 did knowingly transmit and cause to be transmitted in interstate and foreign commerce, by means of a

18 wire communication, certain writings, signs, signals, pictures, and sounds, specifically, a wire transfer of

19 in the amount of $730,000 originating from a bank account in the Northern District of California

20 controlled by a person known to the grand jury and identified as PURCHASER-1 using the Fedwire

21 Funds Service.

22          All in violation of Title 18, United States Code, Sections 1343 and 2.

23 COUNT TWO: (18 U.S.C. § 1956(a)(1)(A)(i) and (a)(1)(B)(i) – Money Laundering)

24          Paragraphs 1 through 6 of this Indictment are re-alleged and incorporated as if fully set forth

25 here.

26          On or about March 7, 2018, in the Northern District of California and elsewhere, the defendant,

27                                    ROWLAND MARCUS ANDRADE,

28


     INDICTMENT                                      5
              Case 3:20-cr-00249-RS          Document 1       Filed 06/22/20      Page 7 of 9




 1 did knowingly conduct and attempt to conduct a financial transaction affecting interstate and foreign

 2 commerce which involved the proceeds of a specified unlawful activity, that is wire fraud in violation of

 3 Title 18, United States Code, Section 1343, with the intent to promote the carrying on of said specified

 4 unlawful activity, and knowing that the transaction was designed in whole and in part to conceal and

 5 disguise the nature, location, source, ownership, and proceeds of said specified unlawful activity, and

 6 that while conducting and attempting to conduct such financial transaction, knew that the property

 7 involved in the financial transaction represented the proceeds of some form of unlawful activity; that is,

 8 the purchase of a cashier’s check drawn on an account held in the name of Fintech Fund Family LP

 9 involving $600,000 in United States Currency later deposited in an account in the name of MARCUS
10 ANDRADE.

11          All in violation of Title 18, United States Code, Sections 1956(a)(1)(A)(i), (a)(1)(B)(i), and 2.
12 FORFEITURE ALLEGATION:                  (18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c);

13                                         18 U.S.C. § 982(a)(1))

14          The allegations contained in this Indictment are re-alleged and incorporated by reference for the

15 purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title

16 28, United States Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(1).

17          Upon conviction of Count One of this Indictment, the defendant,

18                                     ROWLAND MARCUS ANDRADE,

19 shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and

20 Title 28, United States Code, Section 2461(c), all property, real or personal, constituting or derived from

21 proceeds the defendant obtained, directly or indirectly, that are traceable to his violation of Title 18,

22 United States Code, Section 1343.

23          Upon conviction of Count Two of this Indictment, the defendant,

24                                     ROWLAND MARCUS ANDRADE,

25 shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(1), any

26 property, real or personal, involved in the violation alleged in Count Two, or any property traceable to

27 such property, including, but not limited to:

28


     INDICTMENT                                       6
              Case 3:20-cr-00249-RS          Document 1        Filed 06/22/20      Page 8 of 9




 1                  a. One Parcel of Real Property Located at 9414 Plaza Point Drive, Missouri City, Texas,

 2                       77459

 3          If the property described above, as a result of any act or omission of the defendant:

 4                  a.     cannot be located upon exercise of due diligence;

 5                  b.      has been transferred or sold to, or deposited with, a third party;

 6                  c.     has been placed beyond the jurisdiction of the court;

 7                  d.      has been substantially diminished in value; or

 8                  e.     has been commingled with other property which cannot be divided without

 9                          difficulty,
10 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

11 United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

12          All pursuant to Title 18, United States Code, Section 981(a)(1)(C); Title 28, United States Code,
13 Section 2461(c); Title 18, United States Code, Section 982(a)(1); and Federal Rule of Criminal

14 Procedure 32.2.

15

16 DATED: June 18, 2020                                            A TRUE BILL.

17

18                                                                   /s/
                                                                   _________________________
                                                                   FOREPERSON
19

20 DAVID L. ANDERSON
   United States Attorney
21
     /s/ Lloyd Farnham
22 _____________________________

23 LLOYD FARNHAM
   ANDREW DAWSON
24 Assistant United States Attorneys

25

26

27

28


     INDICTMENT                                        7
AO 257 (Rev. 6/78)           Case 3:20-cr-00249-RS                     Document 1                Filed 06/22/20             Page 9 of 9    FILED
       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
                                                                                                                                               Jun 22 2020
BY:       COMPLAINT               INFORMATION                INDICTMENT                             Name of District Court, and/or Judge/Magistrate Location
                                                                                                                            SUSANY. SOONG
                                                             SUPERSEDING                              NORTHERN DISTRICTCLERK,
                                                                                                                        OF CALIFORNIA
                                                                                                                              U.S. DISTRICT COURT
          OFFENSE CHARGED
                                                                                                                         NORTHERN
                                                                                                                SAN FRANCISCO       DISTRICT OF CALIFORNIA
                                                                                                                              DIVISION
 COUNT ONE:                                                              Petty
                                                                                                                                           SAN FRANCISCO
 18 U.S.C. § 1343 – Wire Fraud
                                                                         Minor              DEFENDANT - U.S
 COUNT TWO:
 18 U.S.C. § 1956(a)(1) – Money Laundering                               Misde-
                                                                         meanor
                                                                                            ROWLAND MARCUS ANDRADE
                                                                         Felony
                                                                                                DISTRICT COURT NUMBER
PENALTY:      CT ONE: 20 yrs imprisonment, fine of $250,000 (or twice the gross
              gain or loss, whichever is greater), 3 yrs supervised release, $100                         CR20-249RS
              special assessment; CT TWO: 20 yrs imprisonment, fine of $500,000
              (or twice the value of property involved, whichever is greater), 3
              yrs supervised release, $100 special assessment
                                                                                                                          DEFENDANT
                             PROCEEDING                                                           IS NOT IN CUSTODY
                                                                                                    Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                 1)       If not detained give date any prior
           Internal Revenue Service-Criminal Investigations
                                                                                                    summons was served on above charges          
       person is awaiting trial in another Federal or State Court,                         2)       Is a Fugitive
       give name of court
                                                                                           3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                  IS IN CUSTODY
                                                                                           4)       On this charge
       this is a reprosecution of
       charges previously dismissed                                                        5)       On another conviction
       which were dismissed on motion
       of:
                                                                SHOW
                                                              DOCKET NO.
                                                                                                                                     }          Federal        State

            U.S. ATTORNEY              DEFENSE
                                                       }                                   6)       Awaiting trial on other charges
                                                                                                     If answer to (6) is "Yes", show name of institution

       this prosecution relates to a
                                                                                                                    Yes            If "Yes"
       pending case involving this same
       defendant                                             MAGISTRATE
                                                                                                Has detainer
                                                                                                been filed?         No
                                                                                                                              }    give date
                                                                                                                                   filed
                                                              CASE NO.
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this
       defendant were recorded under
                                                       }                                        DATE OF
                                                                                                ARREST
                                                                                                                          Month/Day/Year


                                                                                                Or... if Arresting Agency & Warrant were not

Name and Office of Person
Furnishing Information on this form              DAVID L. ANDERSON
                                                                                                DATE TRANSFERRED
                                                                                                TO U.S. CUSTODY
                                                                                                                                        Month/Day/Year


                                 U.S. Attorney         Other U.S. Agency

Name of Assistant U.S.                                                                               This report amends AO 257 previously submitted
Attorney (if assigned)                       LLOYD FARNHAM
                                                      ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS               NO PROCESS*               WARRANT                 Bail Amount: NO BAIL
        If Summons, complete following:
             Arraignment    Initial Appearance                                    * Where defendant previously apprehended on complaint, no new summons or
                                                                                  warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                    Date/Time:                                Before Judge:

        Comments:
